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                         IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA
                                        SENTENCING HEARING

 UNITED STATES OF AMERICA,                       )              COURT MINUTES - CRIMINAL
                                                 )
                           Plaintiff,            )    Before:                The Hon. Paul A. Magnuson
                                                 )
                   v.                            )    Case No:               21-CR-108(1) (PAM/TNL)
                                                 )    Date:                  Thursday, July 7, 2022
 DEREK MICHAEL CHAUVIN (1),                      )    Court Reporter:        Renee Rogge
                                                 )    Courthouse:            Saint Paul
                           Defendant.            )    Courtroom:             7D
                                                 )    Time Commenced:        2:00 p.m.
                                                 )    Time Concluded:        3:00 p.m.
                                                 )    Sealed Hearing Time:   N/A
                                                 )    Time in Court:         One Hour

 APPEARANCES:
   For Plaintiff:            LeeAnn Bell, Sam Trepel, Amanda Sertich, Allen Slaughter, Blake Hostetter, USAO
   For Defendant:            Eric Nelson, CJA

 PROCEEDINGS:
    Sentencing

 IT IS ORDERED:
    Defendant is sentenced to:
 Count No.      Plea      Verdict           BOP              AG           SR            PROB           HA
 One (1) of      X                       245 Months                     5 Years
Indictment;
 One (1) of
Information

      See J&C for Special Conditions.

      Defendant sentenced to pay:
         Special Assessment in the amount of $200.00.
         Restitution in an amount to be determined.

      Plea and Plea Agreement accepted.

      Defendant is remanded to the custody of the United States Marshal.

      Sealed Matters: Sentencing/sealed documents are sealed for the duration of sentencing.

                                                                                    s/Lynn L. Magee
 Dated: Thursday, July 7, 2022                                                      Courtroom Deputy to
                                                                                    The Hon. Paul A. Magnuson
